                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
_____________________________________________________________________________

UNITED STATES OF AMERICA,

                      Plaintiff,                                  Case No. 05-CR-277

               vs.                                                Green Bay Division

JUAN C. BEJAR,
CARLOS A. GAMEZ a/k/a
CARLOS GAMEZ-GONZALEZ,
JASON U. O’CLAIRE,
JENNIFER A. BOEDER, and
CHRISTIAN A. FRUHWIRTH,

                  Defendants.
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              AMENDED PRELIMINARY ORDER OF FORFEITURE
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       Based on the plaintiff’s Motion to Amend Preliminary Order of Forfeiture, it is hereby

ORDERED AND ADJUDGED:

       That the Preliminary Order of Forfeiture filed on February 28, 2006, shall be amended by

dismissing items 1, 2 and 4.

       1.      $8,234.00 in United States currency seized from defendant Bejar on or about
               September 8, 2005;

       2.      A 2002 Dodge truck, VIN: 3D7HA18Z92G192404, seized from defendant Bejar on
               or about September 8, 2005;

       4.      A .38 caliber Iver Johnson Arms and Cycle Works revolver, serial number 86016,
               and approximately 53 rounds of .38 caliber ammunition, seized from defendant
               Gamez’s 1993 Chevrolet truck and from defendant Gamez’s residence at 223½
               Thorne St., Ripon, on or about September 9, 2005.




  Case 1:05-cr-00277-WCG           Filed 03/16/06   Page 1 of 2     Document 73
In all other respects, the Court’s Order filed on February 28, 2006, in this matter shall remain

unaltered and unchanged.

       Dated at Green Bay, Wisconsin, this 16th day of March, 2006.




                                                    s/ William C. Griesbach
                                                    HONORABLE WILLIAM C. GRIESBACH
                                                    United States District Judge




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  Case 1:05-cr-00277-WCG          Filed 03/16/06     Page 2 of 2      Document 73
